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                                          STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                        LITIGATION BUREAU
                                      Writer’s Direct Dial: (212) 416-6359

                                                                     November 9, 2022
    BY ECF:
    Hon. Vincent L. Briccetti
    United States District Judge
    Southern District of New York
    300 Quarropas Street
    White Plains, New York 10601

                    Re:     Iosilevich v. Walmart Inc. et al; 7:22-cv-04757-VB

    Dear Judge Briccetti:

            I write on behalf of this Office in response to the Court’s October 20, 2022 Order
    instructing this Office to provide an updated address where Defendant Reicherter may be served.
    See Dkt. No. 18. Defendant Reicherter may be served at the Cortlandt Station location for the New
    York State Troopers, located at 1 Memorial Drive, Croton on Hudson, NY 10520.



            The above details are based on information available at this time and are not an admission
    that the individuals engaged in the acts alleged or violated Plaintiff’s rights.

                                                                     Respectfully submitted,

                                                                     S/ Andrew Blancato
                                                                     Andrew Blancato
                                                                     Assistant Attorney General
                                                                     Andrew.Blancato@ag.ny.gov


    cc:
           Ilya Feliksovich Iosilevich
           2401 Mermaid Avenue
           Brooklyn, NY 11224-2209




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DECLARATION OF SERVICE

       Andrew Blancato, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as
follows:

       I am over 18 years of age and not a party to this action. On November 9, 2022, I caused to
be served the annexed Letter upon:

       Ilya Feliksovich Iosilevich
       2401 Mermaid Avenue
       Brooklyn, NY 11224-2209

plaintiff pro se, by mailing a true copy of the attached papers, enclosed and properly sealed in a
postpaid envelope, which was deposited in an official depository under the exclusive care and
custody of the United States Postal Services within the State of New York addressed to the above-
noted address designated by plaintiff for that purpose.


                                                    S/ Andrew Blancato
                                                    Andrew Blancato
                                                    Assistant Attorney General




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